Case 5:19-cv-01074-FMO-SHK Document 1-1 Filed 06/11/19 Page 1 of 2 Page ID #:41




                             Exhibit A
     Case 5:19-cv-01074-FMO-SHK Document 1-1 Filed 06/11/19 Page 2 of 2 Page ID #:42
Certificate of Registration
                  This Certificate issued under the seal ofthe Copyright
                  Office in accordance with title 17, United States Code,
                  attests that registration has been made for the work
                  identified below. The information on this certificate has
                                                                                         Re^stration Number
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                                                                                       VA 1-765-597
                                                                                           Effective date of
                                                                                             registration:
                  Acting Register of Copyrights,United States of America                     March 1,2011




  Title
                      Title of Work: Medusae Collection II

   Completion/Publication ———
               Year of Completion: 2008
            Date of 1st Publication: May 31,2008                      Nation of 1st Publication: United States


   Author
                            Author: Roxy Towry Russell

                   Author Created: sculpture/3-D artwork, map and/or technical drawing

                          Citizen of:   United States                             Domiciled in: United States

                         Year Born:     1974

   Copyright claimant
              Copyright Ctoimant: Roxy Towry Russell
                                        1665 N. El MoIinoAve.,Pasadena, OA,91104, United States

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                              Name: Roxy Towry Russell

                             Email: roxy.russell@gmail.com                                          Telephone:   626-376-8059
                           Address:     1665 N. El Molino Ave.

                                        Pasadena, CA 91104 United States


  Certification
                              Name: Roxan Towry Russell
                               Date: March 1,2011




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                                                                                                                 Exhibit A
